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                  EXHIBIT 5
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Honorable Katherine Forest                     Michael Van Praagh
United States District Court                   Reg # 70470-054
Southern District                              MCC-NY 150 Park Row
500 Pearl Street                               New York, NY 10007
New York, NY 10007



                                               May 21, 2015


     My name is Michael Van Praagh and I am an inmate currently

being held at the Metropolitan Correctional Center in Downtown

Manhattan.   I am not proud of my current living situation but I

am thankful because I know now that this experience has not only

changed me, but probably saved my life.        I have been fortunate

enough to be able to use the resources available to me to become

someone who I always wanted to be and grow to my fullest potential.

     After just a few months here I started working with the

Education Department and formed some GED prep classes on my unit.

I found a passion for teaching and I held and still hold, one

year later, two classes everyday for six days out of the week.                I

spend a major portion of my day in the classroom, in fact, it

was in the classroom where I first met Mr. Ross Ulbricht.             Mr.

Ulbricht approached me after my class to inquire about how he too,

might get involved in teaching classes.        He explained that he was

fortunate enough to have had a good education and that he was

interested in getting involved with the Education Department or

at the very least, helping me out in any way he could.            I was

moved immediately by his sense of concern for what we were doing

in trying to share our gifts and help teach some of the other

dedicated inmates who haven't been so fortunate to have had some

of the same priveleges afforded to Ross and to myself.
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     Mr. Ulbricht began joining me every morning at 8:00 am in the

classroom.     His consideration and dedication made me realize that

he is the kind of person that being around I found would prove

to be in my best interest.     From that point on, he and I became

friends.     That is not, however, why I am writing this letter.               I

would like to share with Your Honor, not that Mr. Ulbricht and I

became friends, but why, and to shed some light, from my

perspective, on the kind of person he is and how he has affected,

not only me, but many of our other fellow inmates.              Of course,

I have no knowledge of who he was or how he lived before corning

here, but I can speak for who he is today.

     Ross Ulbricht and I share the common experience of having

gone to trial, so I know how stressful of a time that can be for

anyone.    As difficult of a time as it was, he always was available

for me and for my students.     Sharing his knowledge and his

experiences had inspired me to do something that I             al~ays ~ wanted ~


to do but never managed to accomplish.        I enrolled in College.

     As a first generation college student, the whole ordeal of

choosing a school, enrolling, picking a major, and regiitering •·

for classes was completely foreign to me and frankly intimidating.

I am forever grateful that Mr. Ulbricht patiently walked me through

the entire process.    He has provided me the advice and confidence

necessary to take those vital first steps.        There are three other

students in my class that are grateful to Mr. Ulbricht, for he

convinced them too that as proud as they      shouldbe~d'na~        made such

valuable strides and receive their GED's, that it is only the

first step to ensuring a successful life that is free of recidivism.
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      I am so very proud to broadcast to anyone that will listen that

Michael Jimenez, Elvin Soto, Leon Santiago, and I, aside from being

inmates here at MCC, are degree seeking students, enrolled at Adams

State University.    We take classes through correspondence.             The

school mailed us books, course syllabi, due dates, and a note from

our professors that says, basically, "Good Luck."              That is pretty

scary.   I know that it is nothing that has not been done before, but

with no personal instruction, it's a daunting task.             Mr. Ulbricht

sits with the four of us every single day and we've made such great

progress that I fear what it will be like=wh.en: \\e are no : longer : able to

take advantage of his wealth of knowledge the unparalleled generosity

with which he shares it.      Mr. Ulbricht does all this without any

expectation of something in return.       It's is soley to help others

and I have found that to be of the most endearing and noble qualities

I have found in anyone I have met throughout this entire unfortunate

experience.   Ross Ulbricht kindness and devotion to exellence has

truly inspired us all.

     I cannot even begin to understand the pain and the stress this

most exceptional person harbors because that is the only way that

he would have it.    He does not wear his misery like most people

around here do and if I didn't know about it, I could never imagine

what it is he is going through.      He does not share most of the

details but I am aware of his pre-sentencing recommendation.                  If I

may most respectfully share with Your Honor, my feelings, to sentence

this young man to a lifetime detained behind bars, kept from society,

would not only be tragic but also a detriment to Mr. Ulbricht, his

family, and society.

                                    Respectfull ~;;{)~V
                                                Michael Van Praagh
